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uNiTEo sTATEs oi= AMEaicA, CL[§FFLL|| jtAii*ri)g§dw
P|aintiff,
vs.
ce. No. 04-20386-0
cHnls ANTHoNY PAaKs,
Defendant.

 

OF{DER ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set for trial on the September, 2005 criminal rotation calendar.
Counsel for the defendant has requested a continuance of the trial date in order to allow
for additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

Report Date of Tuesday, September 22, 2005l at 9:00 am., in Courtroom 3. 9th Floor

ot the Federa| Bui|ding, Memphis, TN.

 

The period from September 16, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy trial.

lT is so oFiDERED this Q?Z day of Augusi, 2005.

ERNICE B ON L
UN|TED STATES DISTR|CT JUDGE

Thls document entered on the dockets lia
with Fluie 55 and/or 32(b) FFlCrP on p a §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:04-CR-203 86 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

